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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILILNOIS
                                EASTERN DIVISION

JOSE M. PADILLA, as the Special              )
Administrator of the Estate of               )
Maximilian Padilla,                          )
                                             )
                      Plaintiff,             )
                                             )
       v.                                    )       Case No. 09 CV 1222
                                             )
HUNTER DOUGLAS WINDOW                        )       Judge John Z. Lee
COVERINGS, INC.; WINDOW                      )
COVERING MANUFACTURERS                       )
ASSOCIATION; AND WINDOW                      )
COVERING SAFETY COUNCIL,                     )
                                             )
                      Defendants.            )


                                            ORDER

        Having reviewed the parties’ Daubert motions and the numerous briefs and
accompanying exhibits related thereto, the Court believes that a hearing would assist the Court in
considering these motions. Accordingly, the Court sets the following hearing schedule. On
8/20/13, starting at 10:00 a.m., the Court will hear arguments as to Defendant's Daubert motions.
First, the Court will address Defendant's motion as to Robert Wright. Mr. Wright should be
present and made available for voir dire by the parties as to the issues raised in the motion. The
parties will be given an opportunity to examine the expert and present arguments. The Court
then will hear arguments regarding Defendant's motion as to Stuart Stalter. Mr. Stalter need not
be present. On 8/21/13, starting at 10:00 a.m., the Court will hear arguments as to Plaintiff’s
Daubert motions. First, the Court will address Plaintiff’s motion as Joseph Sala. Mr. Sala
should be present and made available for voir dire by the parties as to the issues raised in the
motion. The parties will be given an opportunity to examine the expert and present arguments.
The Court then will hear arguments regarding Plaintiff's motion as to Rose Ray. Ms. Ray need
not be present. An agenda for the two days is attached. The pretrial conference previously set
for Thursday, 8/15/13, and the trial date of 8/19/13 are stricken. A revised trial schedule will be
set on 8/21/13.


                                                    8/8/13
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                                      AGENDA

                                  August 20, 2013

         Defendant’s Motion as to Robert Wright:

         Plaintiff’s voir dire of witness             60 minutes
         Defendant’s voir dire of witness             60 minutes
         Plaintiff’s re-direct                        10 minutes

         Defendant’s argument                         20 minutes
         Plaintiff’s argument                         20 minutes
         Defendant’s rebuttal                         5 minutes

         Defendant’s Motion as to Stuart Stalter:

         Defendant’s argument                         30 minutes
         Plaintiff’s argument                         30 minutes
         Defendant’s rebuttal                         5 minutes

                                  August 21, 2013

         Plaintiff’s motion as to Joseph Sala:

         Defendant’s voir dire of witness             60 minutes
         Plaintiff’s voir dire of witness             60 minutes
         Defendant’s re-direct                        10 minutes

         Plaintiff’s argument                         20 minutes
         Defendant’s argument                         20 minutes
         Plaintiff’s rebuttal                         5 minutes

         Plaintiff’s Motion as to Rose Ray:

         Plaintiff’s argument                         30 minutes
         Defendant’s argument                         30 minutes
         Plaintiff’s rebuttal                         5 minutes
